              Case 20-03841 Doc 23-2 Filed 06/04/20 Entered 06/04/20 13:41:00                                          Desc
Form G-4
                        Statement Accompanying Relief From Stay Page 1 of 1
                                                   REQUIRED STATEMENT
                                         TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY

      All Cases:        Debtor(s)     Ruby J. Adams                                        Case No. 20-03841           Chapter      13

      All Cases:        Moving Creditor PHH MORTGAGE CORPORATION                                         Date Case Filed 2/11/2020

      Nature of Relief
                                        Lift Stay        Annul Stay         Other (describe)
      Sought:

      Chapter 13:              Date of Confirmation Hearing                         or Date Plan Confirmed       03/30/2020

      Chapter 7:                No-Asset Report Filed on
                                No-Asset Report not Filed, Date of Creditors Meeting

      1.          Collateral
                  a.  Home
                  b.  Car        Year, Make, and Model
                  c.  Other (describe)

      2.          Balance Owed as of 05/01/2020          $82,929.12
                  Total of all other Liens against Collateral $0.00

                  In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history listing the
      3.
                  amounts and dates of all payments received from the debtor(s) post-petition.

      4.          Estimated Value of Collateral (must be supplied in all cases) $109,964.00, per Debtor's Schedules

      5.          Default
                  a.  Pre-Petition Default as of petition date
                      Number of months      8                 Amount          $9,151.46

                  b.           Post-Petition Default
                         i.           On direct payments to the moving creditor
                                     Number of months     3             Amount          $3,503.23

                         ii.           On payments to the Standing Chapter 13 Trustee
                                      Number of months                 Amount

      6.        Other Allegations
                 a.  Lack of Adequate Protection § 362(d)(1)
                      i.        No insurance
                      ii.       Taxes unpaid               Amount           $
                      iii.      Rapidly depreciating asset
                      iv.       Other (describe)

                  b.      No Equity and not Necessary for an Effective Reorganization § 362(d)(2)

                  c.      Other "Cause" § 362(d)(1)
                         i.      Bad Faith (describe)
                         ii.     Multiple Filings
                         iii.    Other (describe)

                  d.     Debtor's Statement of Intention regarding the Collateral
                         i.  Reaffirm        ii.  Redeem          iii.  Surrender          iv.  No Statement of Intention Filed

      Date:      June 4, 2020                                                                     /s/ Karl Meyer
      (Rev. 12/21/09)                                                                           Counsel for Movant
